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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 13, 2018, I electronically filed the foregoing Monthly

  Operating Report for June 2018 with the Clerk of Court using the CM/ECF system, which will

  then send a notification of such filing (NEF) to all counsel of record.


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